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                                                                             December 16, 2022
  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. James R. Cho, U.S.M.J.
  225 Cadman Plaza East
  Courtroom 11D South
  Brooklyn, NY 11201-1804

         Re:     IME WatchDog, Inc. v. Gelardi, et al.
                 Case No.: 1:22-cv-1032 (PKC) (JRC)
                 MLLG File No.: 25-2022            ___

  Dear Judge Cho:

          This office represents the Plaintiff IME WatchDog, Inc. (“Plaintiff”) in the above-
  referenced case. Plaintiff writes to respectfully request an extension of time of two (2) month for
  the parties to serve affirmative expert disclosures.

          Consistent with ¶ C(2) of this Court’s Individual Practices, Plaintiff submits that: (i) the
  current deadline to serve affirmative expert disclosures is today, December 16, 2022; (ii-iii) there
  have been no previous requests for an extension of time to comply with this specific deadline; (iv)
  all parties consent to this request; and (v) while Plaintiff submits that the requested extension
  would affect other scheduled deadlines (but not Court appearances), Plaintiff plans to seek an
  appropriate extension of time to complete discovery because Plaintiff is still not in receipt of any
  content findings from the forensic examiner.

          The reason for the request is that Plaintiff needs additional time to retain an expert.
  Accordingly, good cause and excusable neglect exist to warrant an extension of time of this
  deadline from December 16, 2022 to February 16, 2022, as Plaintiff is not in control as to when it
  may receive documents from the forensic examiner, which documents play an important rule with
  respect to an expert. See Fed. R. Civ. P. 6(b)(1)(B).

          The parties thank this honorable Court for its time, attention, and anticipated courtesies in
  this case.
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  Dated: Lake Success, New York
         December 16, 2022           Respectfully submitted,

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